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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                               JUDGE RAYMOND P. MOORE

Courtroom Deputy: Cathy Pearson                                      Date: May 4, 2016
Court Reporter: Tammy Hoffschildt                                    Interpreter: n/a
Probation Officer: n/a

CASE NO. 15-CR-00149-RM-6

Parties                                                              Counsel

UNITED STATES OF AMERICA,                                            Martha Paluch
                                                                     Bryan Fields
            Plaintiff,

v.

6. CRISTINA PORTILLOS,                                               John Mosby

            Defendant.




                                   COURTROOM MINUTES

JURY TRIAL – DAY 3

Court in session: 9:57 a.m. JURY IS NOT PRESENT.

Present with Government’s counsel is IRS Special Agent Tony Romero. Present with
Defendant’s counsel is Elisa Moran. Defendant is present on bond.

Discussion held regarding the notebook tendered to the Court by Mr. Mosby.

9:58 a.m.       Jury is present.

9:59 a.m.       Government’s witness, IRS Special Agent Anthony Romero, previously
                sworn, resumes the stand. Continued direct examination by Ms. Paluch.
                Exhibits admitted: 266, 240, 144, 255, 256, 259, 260, 261, 262, 238, 239,
                267
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11:36 a.m.    Cross-examination of IRS Special Agent Anthony Romero by Mr. Mosby.
              Exhibits admitted: A2

11:59 a.m.    Jury is excused.

Court in recess: 12:00 p.m.
Court in session: 1:21 p.m. JURY IS PRESENT.

Continued cross-examination of IRS Special Agent Anthony Romero by Mr. Mosby.

3:12 p.m.     Redirect examination of IRS Special Agent Anthony Romero by Ms. Paluch.

3:28 p.m.     Witness is excused.

Stipulations read into the record by Ms. Paluch.

3:31 p.m.     Government rests.

3:32 p.m.     Jury is excused until 9:00 a.m. on May 5, 2016.

3:33 p.m.     Mr. Mosby moves to dismiss Counts 10, 12, 14, 15, 16, 17, and 30 of the
              Superseding Indictment.

Court’s findings.

ORDERED: The oral motion to dismiss Counts 17 and 30 is DENIED as stated on the
         record.

Argument given by Ms. Paluch regarding the oral motion as to Counts 10, 12, 14, 15, and
16.

The Court takes the motion to dismiss Counts 10, 12, 14, 15, and 16 under advisement.

Mr. Mosby moves for judgment of acquittal pursuant to Rule 29 as to Count 1 of the
Superseding Indictment.

Court’s findings.

ORDERED: Defendant’s oral motion for judgment of acquittal pursuant to Rule 29 as to
         Count 1 of the Superseding Indictment is DENIED.

Court in recess: 3:42 p.m.
Court in session: 4:00 p.m. JURY IS NOT PRESENT.

Richard Kornfeld is present for Material Witness Michelle Steinhaus. Ronald Gainor is
present by telephone for Material Witness Tanya Barrett.
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Discussion held regarding the material witnesses and their testimony, the Motion to
Quash Subpoena to Testify by Witness Michelle Steinhaus (Doc. 427), and the Status
Report of Material Witness Tanya Barrett (Doc. 434).

Mr. Gainor states that Ms. Barrett will not be invoking her Fifth Amendment privilege.

Mr. Mosby states that he does not need to call Tanya Barrett at this time.

4:02 p.m.     Ronald Gainor and Tanya Barrett are excused from the rest of this hearing.

Mr. Mosby calls Michelle Steinhaus to the stand.

Michelle Steinhaus is sworn and examined by Mr. Mosby. On the advice of counsel, the
witness invokes her Fifth Amendment privilege.

4:12 p.m.     Witness is excused.

Mr. Kornfeld makes statements to the Court.

Court’s findings.

ORDERED: Motion to Quash Subpoena to Testify by Witness Michelle Steinhaus (Doc.
         427) is GRANTED, and she is excused from testifying in this trial.

4:25 p.m.     Richard Kornfeld and Michelle Steinhaus are excused from the rest of this
              hearing.

Discussion held regarding scheduling matters.

Court in recess: 4:27 p.m.
Total in court time: 4:51
Hearing continued
